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    EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


  WSOU INVESTMENTS, LLC d/b/a
  BRAZOS LICENSING AND                               Civil Action No.: 6:20-cv-00480-ADA-DTG
  DEVELOPMENT,                                       Civil Action No.: 6:20-cv-00481-ADA-DTG
                                                     Civil Action No.: 6:20-cv-00486-ADA-DTG
        Plaintiff,

                 v.                                  JURY TRIAL DEMANDED

  DELL TECHNOLOGIES INC.,
  DELL INC., EMC CORPORATION,
  AND VMWARE, INC.,

        Defendants.


                               AMENDED SCHEDULING ORDER

                     Event                         Current Deadline           New Deadline
Opening Expert Reports.                               July 15, 2022         September 1, 2022
Rebuttal Expert Reports.                            August 12, 2022         September 29, 2022
Close of Expert Discovery.                         September 9, 2022         October 20, 2022
Deadline for the second of two meet and            September 19, 2022        October 27, 2022
confers to discuss narrowing the number of
specific claims asserted and specific prior
art references to be asserted to triable limits.
To the extent it helps the parties determine
these limits, the parties are encouraged to
contact the Court’s Law Clerk for an
estimate of the amount of trial time
anticipated per side. The parties shall file a
Joint Report within 5 business days
regarding the results of the meet and confer.
Dispositive motion deadline and Daubert            September 26, 2022        October 27, 2022
motion deadline.
Serve Pretrial Disclosures (jury instructions,      October 3, 2022          November 3, 2022
exhibit lists, witness lists, discovery and
deposition designations).
Serve objections to pretrial                        October 11, 2022        November 10, 2022
disclosures/rebuttal disclosures.
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Serve objections to rebuttal disclosures and          October 18, 2022     November 17, 2022
file motions in limine.
File Joint Pretrial Order and Pretrial                October 25, 2022     December 22, 2022
Submissions (jury instructions, exhibit lists,
witness lists, discovery and deposition
designations); file oppositions to motions in
limine.
File Notice of Request for Daily Transcript          November 1, 2022       January 19, 2023
or Real Time Reporting. If a daily transcript
or real time reporting of court proceedings
is requested for trial, the party or parties
making said request shall file a notice with
the Court and e-mail the Court Reporter,
Kristie Davis at kmdaviscsr@yahoo.com.

Deadline to meet and confer regarding
remaining objections and disputes on
motions in limine.
File joint notice identifying remaining              November 15, 2022      January 26, 2023
objections to pretrial disclosures and
disputes on motion in limine.
First Final Pretrial Conference (Case Nos.           November 28, 2022            N/A
6:20-cv-00473, -476, -477)
Jury Selection / 1st Trial (Case Nos. 6:20-          December 5, 2022             N/A
cv-00473, -476, -477)
Second Final Pretrial Conference (Case                February 2, 2023      February 2, 2023
Nos. 6:20-cv-00480, -481, -486)
Jury Selection for 2nd Trial (Case Nos.              February 16, 2023      February 16, 2023
6:20-cv-00480, -481, -486)
2nd Trial (Case Nos. 6:20-cv-00480, -481,            February 20, 2023      February 20, 2023
-486)


SIGNED this _____day of ___________________ 2022.



                                                 ___________________________________
                                                 DEREK T. GILLILAND
                                                 UNITED STATES MAGISTRATE JUDGE
